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             Appendix 2
11/7/24, 1:18 PM     Case 1:24-cv-07984-KPF                   Document
                                                             perplexity.ai Mail - 36-2        Filed
                                                                                  Letter from Bill Barr 12/11/24
                                                                                                        to Aravind Srinivas Page 2 of 2



                                                                                                Dmitry Shevelenko <REDACTED                         >



  Letter from Bill Barr to Aravind Srinivas
  Dmitry Shevelenko <REDACTED             >                                                                            Tue, Jul 9, 2024 at 12:20 PM
  To: "Justin M. Romeo" <JRomeo@torridonlaw.com>, Aravind Srinivas <REDACTED                                     >

     +Aravind Srinivas
     Thanks Justin for reaching out. We'd love to engage with News Corp to share more about Perplexity's Select Publisher
     Program and our first-of-its-kind revenue sharing model. Can you connect us with the right business contacts on the
     News Corp team?
     Best,
     Dmitry


     On Tue, Jul 9, 2024 at 12:12 PM Justin M. Romeo <JRomeo@torridonlaw.com> wrote:

        Mr. Shevelenko:


        Attached is a letter from former Attorney General Barr to Aravind Srinivas. If you could please forward to
        Mr. Srinivas and confirm receipt.


        Best,


        Justin M. Romeo
        Partner

        TORRIDON LAW PLLC
        801 17th Street NW, Suite 1100, Washington, DC 20006

        Tel: 202.249.6900 • Direct: 202.249.6653

        jromeo@torridonlaw.com • www.torridonlaw.com




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